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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                     Case No. 06-20663

D-1, DERRICK ARMSTRONG,
D-10, DEXTER HUSSEY,
D-12, JOSEPH JONES,
D-20, AARON SCHWARTZ,                                  HONORABLE AVERN COHN

             Defendants.

___________________________________/

                          ORDER GRANTING/DENYING MOTIONS

      This is a multi-defendant complex criminal case involving charges of drugs and

money laundering. The Court held a status conference on November 03, 2008, at which

it disposed of a number of motions as follows:

                     Motion                                       Disposition

      A.     Defendant Aaron Schwartz’s
             Motion To Sever                                      GRANTED

      B.     Defendant Joseph M. Jones’
             Motion For Disclosure Of Brady Material              GRANTED

      C.     Defendant Dexter Hussey’s Motion For Disclosure
             Of Exculpatory Evidence And Discovery Material
             Including FRE 404(b) Material                        GRANTED

      D.     Defendant Derrick Armstrong’s Motion To Sever        GRANTED

      E.     Defendant Joseph M. Jones’ Motion To Sever           GRANTED

      F.     Defendant Joseph M. Jones’ Motion For A
             Bill Of Particulars                                  DENIED
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       Additionally,

       G.     Defendant Joseph M. Jones’ Motion Requesting Notice Of The Government’s

Intention To Offer Other Crimes, Wrongs And Bad Acts Evidence is DENIED. The

government understands its obligations relating to notice of FRE 404(b) evidence.

       H.     Defendant Joseph M. Jones’ Motion For Pretrial Disclosure And Hearing As

To The Admissibility Of Co-Conspirators’ Statements Pursuant To Rule 801(A)(2)(e) is

DENIED. See, Bourjaily v. United States, 781 F2d 539, 546 (6th Cir. 1986).

       I.     Lastly, Defendant Derrick Armstrong’s Motion To Dismiss Indictment requires

a response.

       SO ORDERED.


                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: November 4, 2008


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, November 4, 2008, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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